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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION
 CRYPTON FUTURE MEDIA, INC.,


                          Plaintiff,                   Case No. 24-cv-10537
 v.

 THE PARTNERSHIPS and                                  Judge Andrea R. Wood
 UNINCORPORATED ASSOCIATIONS
 IDENTIFIED ON SCHEDULE A,

                          Defendants.


      NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO FED. R. CIV. P 41(a)(1)

        Pursuant to Federal Rule of Civil Procedure 41(a)(1), Crypton Future Media, Inc. (“Plaintiff”),

hereby voluntarily dismisses its Complaint against the following Defendants identified on Schedule A, with

prejudice, with each party responsible for its costs and attorneys’ fees:

                      Defendant No.                        Store Name
                           29                             Hyrule Market
                           31                           JNjiahaoshangmao
                           45                      PUXINGJDYOUXIANGONGSI

Dated: January 14, 2025                                    Respectfully submitted,

                                                           /s/ Sofia Quezada Hastings
                                                           Sofia Quezada Hastings
                                                           One of the Attorneys for Plaintiff

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